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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    DONOVAN HARGRETT, et al.,

           Plaintiff,
    v.                                                    CASE NO. 8:15-cv-2456-T-26EAJ

    AMAZON.com DEDC LLC,

           Defendant,

    and

    MICHAEL AUSTIN and
    DEOLINDA S.M. BONDE, et al.,

           Plaintiffs,

    v.                                                    CASE NO. 8:15-cv-2588-T-26JSS

    AMAZON.com DEDC LLC,


           Defendant.
                                                  /

                         PLAINTIFF’S NOTICE OF SETTLEMENT

           Pursuant to Local Rule 3.08(a) Plaintiffs, DONOVAN HARGRETT, et al., and

    Plaintiffs, Michael Austin, et al., by and through undersigned counsel, hereby notifies the

    Court that the above-styled action against Defendant, AMAZON.COM, INC., a foreign

    Delaware corporation, has been settled.

           The Parties respectfully request that the Court stay all pending deadlines, and

    permit the Parties until April 30, 2018 to paper the settlement and file their Motion for

    Preliminary Approval of the proposed settlement.
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         Dated this 13 th day of March, 2018.

                                                Respectfully submitted,

                                                /s/ Brandon J. Hill
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                                                Florida Bar Number: 053643
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                                                Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 13th day of March, 2018, I electronically filed

    the foregoing with the Clerk of the Court by using the CM/ECF system, which will send a

    notice of electronic filing to all Counsel of Record.


                                                  /s/ Brandon J. Hill
                                                  BRANDON J. HILL




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